 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 1 of 12 Page ID #:1



 1   LAQUER URBAN CLIFFORD & HODGE LLP
     J. Paul Moorhead, State Bar No. 240029
 2     Email: Paul@luch.com
 3   Michael Y. Jung, State Bar No. 245260
       Email: Jung@luch.com
 4   225 South Lake Avenue, Suite 200
     Pasadena, California 91101-3030
 5   Telephone: (626) 449-1882 / Facsimile: (626) 449-1958
 6
     Counsel for Plaintiffs, Trustees of the Southern
 7   California Pipe Trades Health and Welfare Trust Fund, et al.
 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   TRUSTEES OF THE SOUTHERN                        Case No. 2:19-cv-8516
     CALIFORNIA PIPE TRADES HEALTH
12   AND WELFARE TRUST FUND;                          COMPLAINT FOR:
     TRUSTEES OF THE SOUTHERN
13   CALIFORNIA PIPE TRADES                           1. BREACH OF WRITTEN
     PENSIONERS AND SURVIVING                            COLLECTIVE BARGAINING
14   SPOUSES HEALTH FUND; TRUSTEES                       AGREEMENT, TRUST
     OF THE SOUTHERN CALIFORNIA PIPE                     AGREEMENTS, AND
15   TRADES RETIREMENT TRUST FUND;                       VIOLATION OF ERISA;
     TRUSTEES OF THE SOUTHERN                         2. BREACH OF CONTRACT
16   CALIFORNIA PIPE TRADES DEFINED
     CONTRIBUTION TRUST FUND;
17   TRUSTEES OF THE SOUTHERN
     CALIFORNIA PIPE TRADES VACATION
18   AND HOLIDAY TRUST FUND;
     TRUSTEES OF THE SOUTHERN
19   CALIFORNIA PIPE TRADES
     CHRISTMAS BONUS FUND; TRUSTEES
20   OF THE APPRENTICE AND
     JOURNEYMAN TRAINING TRUST
21   FUND; TRUSTEES OF THE PLUMBERS
     AND PIPEFITTERS NATIONAL
22   PENSION FUND; and TRUSTEES OF THE
     INTERNATIONAL TRAINING FUND,
23
                 Plaintiffs,
24
                 v.
25
     WILCO ENGINEERING, INC., a California
26   corporation,
27               Defendant.
28

                                            1
     1387789                           COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 2 of 12 Page ID #:2



 1             Plaintiffs, Trustees of the Southern California Pipe Trades Health and Welfare
 2   Trust Fund, Trustees of the Southern California Pipe Trades Pensioners and Surviving
 3   Spouses Health Fund, Trustees of the Southern California Pipe Trades Retirement Trust
 4   Fund, Trustees of the Southern California Pipe Trades Defined Contribution Trust
 5   Fund, Trustees of the Southern California Pipe Trades Vacation and Holiday Trust
 6   Fund, Trustees of the Southern California Pipe Trades Christmas Bonus Fund, Trustees
 7   of the Apprentice and Journeyman Training Trust Fund, Trustees of the Plumbers and
 8   Pipefitters National Pension Fund, and Trustees of the International Training Fund
 9   (collectively the “Trustees”), complain and allege:
10                                    JURISDICTION AND VENUE
11             1.    This Court has jurisdiction of the case pursuant to section 502(e)(1) of the
12   Employee Retirement Income Security Act of 1974, as amended (“ERISA”) [29 U.S.C.
13   § 1132(e)(1)], which grants the United States District Courts jurisdiction over civil
14   actions brought by a fiduciary pursuant to section 502(a)(3) of ERISA [29 U.S.C.
15   § 1132(a)(3)] to redress violations or enforce the terms of ERISA or an employee
16   benefit plan governed by ERISA. Such jurisdiction exists without respect to the amount
17   in controversy or the citizenship of the parties, as provided in section 502(f) of ERISA
18   [29 U.S.C. § 1132(f)].
19             2.    This Court also has jurisdiction of this case pursuant to section 301(a) of
20   the Labor Management Relations Act of 1947, as amended (“LMRA”) [29 U.S.C.
21   § 185(a)], which grants the United States original jurisdiction over suits for violation of
22   contracts between an employer and a labor organization in an industry affecting
23   commerce, without respect to the amount in controversy and the citizenship of the
24   parties.
25             3.    Venue is proper in this Court pursuant to section 502(e)(2) of ERISA [29
26   U.S.C. § 1132(e)(2)], and section 301(a) of the LMRA [29 U.S.C. § 185(a)], in that this
27   is the district in which the plaintiffs’ trust funds are administered, in which the relevant
28   acts took place, and in which monies are due and payable.

                                                2
     1387789                               COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 3 of 12 Page ID #:3



 1             4.   To the extent this complaint sets forth any state law claims, this Court has
 2   supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).
 3                                               PARTIES
 4             5.   Plaintiffs are the Trustees of the Southern California Pipe Trades Health
 5   and Welfare Trust Fund, Trustees of the Southern California Pipe Trades Pensioners
 6   and Surviving Spouses Health Fund, Trustees of the Southern California Pipe Trades
 7   Retirement Trust Fund, Trustees of the Southern California Pipe Trades Defined
 8   Contribution Trust Fund, Trustees of the Southern California Pipe Trades Vacation and
 9   Holiday Trust Fund, Trustees of the Southern California Pipe Trades Christmas Bonus
10   Fund, Trustees of the Apprentice and Journeyman Training Trust Fund, (collectively the
11   “Local Trusts”), and the Plumbers and Pipefitters National Pension Fund (the “National
12   Trust”) and the International Training Fund (the “International Trust”). (The Local
13   Trusts, National Trust and International Trust are referred to collectively as the
14   “Trusts”). The Trusts are express trusts created pursuant to written agreements and
15   declarations of trust (the “Trust Agreements”) between the Southern California Pipe
16   Trades District Council No. 16 of the United Association of Journeymen and
17   Apprentices of the Plumbing and Pipefitting Industry (“District Council No. 16”) and
18   various employer associations in the plumbing and pipefitting industry in Southern
19   California, or between District Council No. 16, and other councils of the United
20   Association of Plumbers and Pipefitters, and various employer associations across the
21   United States. The Trusts are now, and were at all times material to this action, labor-
22   management multiemployer trusts created and maintained pursuant to section 302(c)(5)
23   of the LMRA [29 U.S.C. § 186(c)(5)].
24             6.   The Trustees are “fiduciar[ies]” with respect to the Trusts as defined in
25   section 3(21)(A) of ERISA [29 U.S.C. § 1002(21)(A)].
26             7.   At all times material herein, defendant Wilco Engineering, Inc. (“Wilco”)
27   has been a corporation organized under the laws of the state of California, with its
28   principal place of business located in Goleta, California.

                                               3
     1387789                              COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 4 of 12 Page ID #:4



 1             8.    Wilco is an “employer” engaged in “commerce” in an “industry affecting
 2   commerce,” as those terms are defined and used in sections 501(1) and 501(3) of the
 3   LMRA [29 U.S.C. §§ 142(1), 142(3)], and within the meaning and use of section 301(a)
 4   of the LMRA [29 U.S.C. § 185(a)].
 5                           EXECUTION OF BARGAINING AGREEMENT
 6             9.    On or about December 11, 2018, Wilco executed a written agreement
 7   whereby Wilco agreed to be bound by the terms and conditions of the Master
 8   Agreement for the Plumbing and Piping Industry of Southern California (“Master
 9   Agreement”), in effect between District Council No. 16 and the Southern California
10   Contractors. The Master Agreement incorporates by reference the Trust Agreements.
11             10.   At all material times, Wilco has been bound to the Master Agreement and
12   the Trust Agreements.
13                              POSSIBLE ADDITIONAL DEFENDANTS
14             11.   The Trustees are informed and believe, and thereon allege, that to avoid
15   paying contributions, benefits and/or withholdings and in violation of the Master
16   Agreement, the Trust Agreements and section 515 of ERISA [29 U.S.C. § 1145], Wilco
17   and one or more other individuals or entities, diverted or redirected employees and/or
18   business affairs, assets or operations between one or more individuals and/or entities.
19   The Trustees are informed and believe, and thereon allege, that the other individuals
20   and/or entities are presently unknown to the Trustees. If the Trustees ascertain that any
21   of the defendants or others have engaged in such activities, the Trustees will seek leave
22   to amend this Complaint to include such individuals and entities as defendants.
23             12.   If the Trustees subsequently ascertain that one or more other individuals, or
24   entities, is responsible, in whole or in part, for the day-to-day operations of Wilco
25   and/or is responsible, in whole or in part, for all, or a majority of, the decisions
26   pertaining to the payment of fringe benefit contributions, or union dues, to the Trusts,
27   including decisions: (a) whether or not to pay such contributions or dues, (b) if payment
28   is to be made, when to pay such contributions or dues, and/or (c) how to use such funds

                                                4
     1387789                               COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 5 of 12 Page ID #:5



 1   pending payment to the Trusts; the Trustees will seek to amend this Complaint to
 2   include such additional parties as defendants.
 3                                      FIRST CAUSE OF ACTION
 4              BREACH OF WRITTEN COLLECTIVE BARGAINING AGREEMENT,
 5                   TRUST AGREEMENTS, AND VIOLATION OF ERISA
 6                                          (AGAINST WILCO)
 7             13.   Trustees hereby incorporate herein by this reference paragraphs 1 through
 8   12 above, inclusive of any and all subparagraphs, to the same effect as if set forth
 9   verbatim.
10             14.   By the terms and provisions of the Master Agreement and/or Trust
11   Agreements, and at all times material herein, Wilco agreed, and was obligated, to the
12   following:
13             A.    Prepare and submit true, complete and accurate written monthly
14   contribution reports (“Monthly Report(s)”) to the Trusts on a timely basis showing: i)
15   the identities of employees performing work covered by the Master Agreement, ii) the
16   number of hours worked by these employees, iii) the rates of pay, iv) character of hours
17   worked (e.g., straight time, over-time, etc.), and v) based upon the hours worked by
18   employees, the proper calculation of the fringe benefit contributions, benefits and/or
19   withholdings attributable to the same employees. Such monthly contribution reports are
20   due on the 10th day of each successive month;
21             B.    Pay to the Trusts fringe benefit contributions, benefits and/or withholdings
22   on a monthly basis, and at specified rates for each hour worked by applicable
23   employees. These amounts are considered delinquent if not received by the Trusts by
24   the 15th of the month succeeding the month in which the work was performed. These
25   amounts are due and payable at the Trusts’ administrative offices in Los Angeles,
26   California; and
27
28

                                                5
     1387789                               COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 6 of 12 Page ID #:6



 1             C.    Permit the Trustees and their agents to conduct audits of payroll and
 2   related records in order to determine if fringe benefit contributions have been properly
 3   paid pursuant to the Master Agreement and Trust Agreements.
 4             15.   Wilco is an “employer” and a “contractor” as those terms are understood
 5   in the Master Agreement and Trust Agreements.
 6             16.   Wilco is an “employer” as defined and used in section 3(5) of ERISA [29
 7   U.S.C. § 1002(5)].
 8             17.   Section 515 of ERISA [29 U.S.C. § 1145], provides that “every employer
 9   who is obligated to make contributions to a multiemployer plan under the terms of the
10   plan or under the terms of a collectively bargained agreement shall, to the extent not
11   inconsistent with law, make such contributions in accordance with the terms and
12   conditions of such plan or such agreement.” Pursuant to section 515 of ERISA [29
13   U.S.C. § 1145], Wilco is obligated to make contributions to the Trusts.
14             18.   Sections 429 of ERISA [29 U.S.C. § 1059], provides that “every employer
15   shall … maintain records with respect to each of his employees sufficient to determine
16   the benefits due or which may become due to such employees.” Pursuant to section 429
17   of ERISA [29 U.S.C. § 1059], Wilco was obligated to maintain records sufficient to
18   allow the Trustees to determine the contributions owed by Wilco to the Trusts, and the
19   benefits due to the employees of Wilco.
20             19.   Wilco failed to submit Monthly Reports to the Trustees reflecting work
21   performed by Wilco’s employees and the corresponding fringe benefit contributions
22   due the Trusts from December 2018 through August 2019. This amounts to a breach of
23   the Master Agreement and Trust Agreements, and a violation of the statutorily-
24   mandated obligations under section 515 of ERISA [29 U.S.C. § 1145].
25             20.   Wilco refused to permit the Trustees to conduct an audit of its records for
26   the time period of December 11, 2018, through present, to determine whether Wilco
27   owes fringe benefit contributions to the Trustees. This amounts to a breach of the
28   Master Agreement and Trust Agreements, and a violation of the statutorily-mandated

                                                6
     1387789                               COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 7 of 12 Page ID #:7



 1   obligations under section 515 of ERISA [29 U.S.C. § 1145].
 2             21.   As a result of Wilco’s failure to submit Monthly Reports to the Trustees
 3   for the work months of December 2018 through August 2019 and refusal to permit an
 4   audit of its records covering December 11, 2018, through present, the amount of fringe
 5   benefit contributions and other damages owed to the Trustees is presently unknown, but
 6   will be established by proof.
 7             22.   Trustees are informed and believe, and thereon allege, that Wilco owes, but
 8   has failed to pay, certain additional amounts of fringe benefit contributions, and other
 9   damages for breach of the Master Agreement and Trust Agreements and in violation of
10   section 515 of ERISA [29 U.S.C. § 1145], in amounts not presently known to the
11   Trustees, but these additional amounts will be established by proof.
12             23.   Wilco is “delinquent,” as that term is used in the Master Agreement, and/or
13   related Trust Agreements.
14             24.   Pursuant to section 502(g)(2) of ERISA [29 U.S.C. § 1132(g)(2)], in any
15   action by a fiduciary in which judgment is found in favor of the plan, this Court shall
16   award the plan: (i) the unpaid contributions; (ii) interest on the unpaid contributions;
17   (iii) an amount equal to the greater of interest on the unpaid contributions or liquidated
18   damages provided for under the plan in an amount not in excess of 20% of the unpaid
19   contributions; (iv) reasonable attorneys’ fees and costs; and (v) such other legal or
20   equitable relief as this Court deems appropriate. Interest on unpaid contributions shall
21   be determined by using the rate provided under the plan.
22             25.   Pursuant to the Master Agreement, Trust Agreements and section
23   502(g)(2)(C) of ERISA [29 U.S.C. § 1132(g)(2)(C)], Wilco is obligated to pay to the
24   Trustees liquidated damages for the detriment caused by Wilco’s failure to pay fringe
25   benefit contributions in a timely manner. Pursuant to the written Joint Collection Policy
26   and Procedures (“Joint Collection Policy”) promulgated by the Trustees pursuant to the
27   authority granted to them by the Master Agreement and Trust Agreements, those
28   liquidated damages are assessed at ten percent (10%) of the unpaid or untimely

                                                7
     1387789                               COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 8 of 12 Page ID #:8



 1   contributions. However, if a lawsuit is filed to collect the contributions, the Joint
 2   Collection Policy provides for liquidated damages assessed at twenty percent (20%) of
 3   the unpaid or late contributions. The exact amount of liquidated damages owed by
 4   Wilco will be established by proof.
 5             26.   Pursuant to the Master Agreement, Trust Agreements, Joint Collection
 6   Policy and section 502(g)(2)(B) of ERISA [29 U.S.C. § 1132(g)(2)(B)], Wilco owes the
 7   Trustees interest at 18% per annum on all unpaid or late paid fringe benefit
 8   contributions from the dates the sums were originally due or should have been paid to
 9   the Trustees until paid. The amount of interest owed by Wilco will be established by
10   proof.
11             27.   By the Master Agreement, Trust Agreements, Joint Collection Policy and
12   section 502(g)(2)(D) of ERISA [29 U.S.C. § 1132(g)(2)(D)], Wilco agreed that in the
13   event of any delinquency, it would pay all legal and auditing fees and costs in
14   connection therewith, whether incurred before or after litigation is commenced. The
15   Trustees have incurred legal fees and costs as a result of Wilco’s failure to submit
16   Monthly Reports to the Trustees and refusal to permit an audit of its records. The
17   Trustees will also incur additional audit costs once the records and information
18   necessary to conduct the audit are obtained. The exact amount of the legal and auditing
19   fees and costs due and payable has not been ascertained at this time. These amounts
20   shall be established by proof.
21             28.   By the Master Agreement and Trust Agreements, Wilco agreed in the
22   event it failed to pay fringe benefit contributions or otherwise comply with the terms
23   and provisions of the Master Agreement and related Trust Agreements, to post and
24   deliver either a good faith deposit, or a performance bond issued in favor of the
25   Trustees, in an amount based upon a calculation set forth in the Master Agreement.
26   Trustees are informed and believe, and thereon allege, that the Trustees are entitled to
27   such good faith deposit and delivery of monies or bond from Wilco. The amount of the
28   good faith deposit or bond will be established by proof at trial.

                                              8
     1387789                             COMPLAINT
 Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 9 of 12 Page ID #:9



 1             29.   Pursuant to section 502(g)(2) of ERISA [29 U.S.C. § 1132(g)(2)], the
 2   Court may grant such other legal or equitable relief as the Court deems appropriate. As
 3   part of the Trustees’ judgment, the Trustees shall also request the Court to:
 4             A.    Order Wilco, and its representatives, agents and associates, to provide a
 5   full and complete accounting for, and tracing the use of, all unpaid contributions and
 6   identify all property, real or personal, tangible or intangible, that are the result, whether
 7   in whole or in part, of the use of any unpaid contributions;
 8             B.    Order Wilco, and its representatives, agents and associates, to post and
 9   deliver either a good faith deposit, or a performance bond issued in favor of the Trusts,
10   in an amount determined by the Court to be appropriate;
11             C.    Order the creation of a constructive trust on all applicable property, and
12   order the transfer of the applicable property to the Trusts; and
13             D.    Order Wilco, and its representatives, agents and associates, to pay to the
14   Trusts all amounts due the Trusts, including, but not limited to, the unpaid
15   contributions, benefits, withholdings, damages, legal fees, audit fees and other expenses
16   and damages incurred.
17                                      SECOND CAUSE OF ACTION
18                                       BREACH OF CONTRACT
19                                         (AGAINST WILCO)
20             30.   Trustees hereby refer to, and incorporate herein, by this reference
21   paragraphs 1 through 29 above, inclusive of any and all subparagraphs, to the same
22   effect as if set forth verbatim.
23             31.   Trustees are informed and believe, and thereon allege, that amounts due as
24   union dues and association fees and related amounts (excluding employer and employee
25   contributions) are not recoverable under ERISA.
26             32.   The Master Agreement requires Wilco to pay to Trustees, for the benefit of
27   District Council 16, its affiliated local unions, the Labor Management Compliance
28   Council (“LMCC”), the Piping Industry Progress Education & Trust Fund (“PIPE”) and

                                                9
     1387789                               COMPLAINT
Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 10 of 12 Page ID #:10



 1   the California Plumbers and Mechanical Contractors Association (“CPMCA”), certain
 2   amounts for each hour worked by Wilco’s employees performing work covered by the
 3   Master Agreement. Trustees are the assignee of District Council No. 16, its affiliated
 4   local unions, LMCC, PIPE and CPMCA for collecting said hourly contributions. Wilco
 5   has failed to pay amounts due under the Master Agreement to Trustees for the benefit of
 6   District Council 16, its affiliated local unions, LMCC, PIPE and CPMCA, which
 7   amounts shall be established by proof.
 8             33.   Pursuant to the Master Agreement and Joint Collection Policy, Wilco is
 9   obligated to pay to the Trustees liquidated damages on all unpaid or delinquent
10   contributions (including those amounts due to District Council No. 16, its affiliated
11   local unions, LMCC, PIPE and CPMCA). Pursuant to the Joint Collection Policy
12   liquidated damages are assessed at ten percent (10%) of the unpaid or untimely
13   contributions. However, if a lawsuit is filed to collect the contributions, the Joint
14   Collection Policy provides for liquidated damages assessed at twenty percent (20%) of
15   the unpaid or late amounts. The amount of liquidated damages owed by Wilco will be
16   established by proof.
17             34.   Pursuant to the Master Agreement and the Joint Collection Policy, Wilco
18   owes the Trustees interest at 18% per annum on all unpaid or delinquent contributions
19   (including those amounts due to District Council No. 16, its affiliated local unions,
20   LMCC, PIPE and CPMCA) from the dates the sums were originally due or should have
21   been paid to the Trustees until paid. The amount of interest owed by Wilco will be
22   established by proof.
23                                               PRAYER
24             WHEREFORE, the Trustees pray for judgment as follows:
25             1.    For unpaid fringe benefit contributions and other damages for breach of in
26   amounts as established by proof;
27             2.    For liquidated damages in amounts as established by proof;
28   ///

                                               10
     1387789                              COMPLAINT
Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 11 of 12 Page ID #:11



 1             3.   For interest at the rate of 18% per annum, or other applicable legal rate, on
 2   all contributions due from their respective due dates, or the dates said contributions
 3   should have been paid, until paid, in amounts as established by proof;
 4             4.   For special damages in amounts as proved;
 5             5.   For damages for breach of contract as proved;
 6             6.   For the Trustees’ audit costs, plus additional amounts as established by
 7   proof;
 8             7.   For the Trustees’ reasonable attorneys’ fees in amounts as proved;
 9             8.   For costs of suit incurred herein; and
10             9.   For such additional relief as this Court deems just and proper, including,
11   but not limited to, the following:
12             A.   An Order directing Wilco, its/their representatives, agents and associates,
13   to provide a full and complete accounting for, and tracing the use of all unpaid fringe
14   benefit contributions and identify all property, real or personal, tangible or intangible,
15   that are the result, whether in whole or in part, of the use of any unpaid fringe benefit
16   contributions;
17             B.   An Order for the creation of a constructive trust on all applicable property,
18   and an Order for the transfer of the applicable property to the Trustees;
19             C.   An Order directing Wilco, its/their representatives, agents and associates,
20   to pay to the Trustees all amounts due the Trustees, including, but not limited to, the
21   unpaid fringe benefit contributions, benefits, withholdings, damages, legal fees, audit
22   fees and other expenses and damages incurred; and
23             D.   An Order directing Wilco to permit the Trustees’ auditor access to the
24   wage and payroll books and records of Wilco necessary to verify the precise amounts
25   owed by Wilco to the Trustees for the time period of December 11, 2018, through
26   present. Said documents would include the following documents: monthly contribution
27   reports, payroll records, certified payroll records, time cards, payroll registers, form
28   1099’s and 1096’s, form W-2 and W-3 wage and tax statements, form DE-9’s, accounts

                                               11
     1387789                              COMPLAINT
Case 2:19-cv-08516-DMG-KS Document 1 Filed 10/02/19 Page 12 of 12 Page ID #:12



 1   receivable listings, cash disbursement journals, job cost records, vendor invoices,
 2   subcontracts, cash receipts journals, quarterly federal and state payroll tax returns,
 3   payroll records for related companies, employer contributions reports and cancelled
 4   checks regarding contributions owed/paid to other trust funds, detailed worker’s
 5   compensation insurance reports, and any other books and records that may be necessary
 6   in order to determine the sums owed by Wilco to the Trustees.
 7
 8   Dated: October 2, 2019                      Respectfully Submitted,
 9                                               LAQUER URBAN CLIFFORD & HODGE LLP
10
                                                 By: /s/ Michael Y. Jung
11                                                      MICHAEL Y. JUNG
12                                                 Counsel for Plaintiffs, Trustees of the
                                                   Southern California Pipe Trades Health
13                                                 and Welfare Trust Fund, et al.
14
15                                        WAIVER OF JURY TRIAL
16             Plaintiffs hereby waive a jury trial in this action.
17
18   Dated: October 2, 2019                      Respectfully Submitted,
19                                               LAQUER URBAN CLIFFORD & HODGE LLP
20
                                                 By: /s/ Michael Y. Jung
21                                                      MICHAEL Y. JUNG
22                                                 Counsel for Plaintiffs, Trustees of the
                                                   Southern California Pipe Trades Health
23
                                                   and Welfare Trust Fund, et al.
24
25
26
27
28

                                                  12
     1387789                                 COMPLAINT
